      Case 2:15-cv-00080-SEH Document 64 Filed 12/23/16 Page 1 of 35



J. Devlan Geddes
Benjamin J. Alke
GOETZ, BALDWIN & GEDDES, P.C.
35 North Grand
P.O. Box 6580
Bozeman, MT 59771-6580
Phone: (406) 587-0618
Fax: (406) 587-5144
Email: devlan@goetzlawfirm.com
        balke@goetzlawfirm.com

Attorneys for Relators


               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF MONTANA,
                          BUTTE DIVISION

UNITED STATES OF AMERICA EX
REL. FRANK M. REMBERT and                  Case No. CV 15-80-BU-SEH
MICHAEL R. PARADISE,

                 Relators,                RESPONSE TO MOTION TO
                                           DISMISS FOR LACK OF
     v.                                        JURISDICTION

BOZEMAN DEACONESS HOSPITAL
d/b/a BOZEMAN HEALTH, and
DEACONESS-INTERCITY IMAGING,
LLC d/b/a ADVANCED MEDICAL
IMAGING,

                 Defendants.
         Case 2:15-cv-00080-SEH Document 64 Filed 12/23/16 Page 2 of 35



                                    TABLE OF CONTENTS

                                                                                                  Page No.


TABLE OF AUTHORITIES .........................................................................iii

INTRODUCTION ........................................................................................ 1

FACTUAL BACKGROUND ......................................................................... 3

I.      THE COMPLAINT ALLEGES VIOLATIONS OF THE FALSE
        CLAIMS ACT AND ANTI-KICK BACK STATUTE .............................. 3

        A.      BDH refers patients to its own joint venture .............................. 3

        B.      BDH knowingly exchanged referrals for remuneration .............. 5

                1.      BDH requested that ICR pay cash for referrals ............... 5

                2.      BDH and ICR entered into an illegal side agreement
                        regarding referrals ........................................................... 6

                3.      BDH and ICR recognized that the Side Agreement was
                        illegal ............................................................................... 7

                4.      BDH referred the negotiated amount of patients to
                        AMI in accordance with the Side Agreement ................... 8

II.     THE STATE COURT LITIGATION CONCERNS THE
        TERMINATION OF RELATORS’ EMPLOYMENT IN 2011
        AND SUBSEQUENT EVENTS .......................................................... 9

DISCUSSION ........................................................................................... 12

I.      STANDARD OF REVIEW ................................................................ 12

        A.      Defendants’ motion is another 12(b)(6) motion ....................... 12

                                                      i
         Case 2:15-cv-00080-SEH Document 64 Filed 12/23/16 Page 3 of 35



       B.      Under any rule, Defendants’ motion should be denied ........... 14

II.    THE PURPOSE OF THE PUBLIC DISCLOSURE BAR ................... 15

III.   THE ELEMENTS OF THE PUBLIC DISCLOSURE BAR ................. 17

       A.      Only documents in the categories specified by 31 U.S.C.
               § 3730(e)(4)(A) can be considered in a public
               disclosure analysis ................................................................. 18

       B.      The “allegations and transactions” were not publicly
               disclosed ................................................................................ 20

               1.      The well-established formula shows that the public
                       disclosure bar does not apply ........................................ 20

               2.      A monopoly is different from trading referrals for
                       remuneration ................................................................. 23

IV.    RELATORS ARE ORIGINAL SOURCES ........................................ 26

CONCLUSION .......................................................................................... 28

CERTIFICATE OF COMPLIANCE ............................................................ 29




                                                    ii
         Case 2:15-cv-00080-SEH Document 64 Filed 12/23/16 Page 4 of 35



                               TABLE OF AUTHORITIES

                                                                                      Page No.

CASES:

Am. Civil Lib. Union v. Holder,
     673 F.3d 245 (4th Cir. 2011) ............................................................ 16

Davis v. Wells Fargo,
     824 F.3d 333 (3d Cir. 2016) ............................................................. 14

Graham County Soil and Water Conservation Dist. v.
U.S. ex rel. Wilson,
      559 U.S. 280, 130 S.Ct. 1396 (2010)................................... 16, 17, 25

Leveski v. ITT Educational Services, Inc.,
     719 F.3d 818 (7th Cir. 2013) ....................................................... 24,25

MCI Comm.’s Serv.’s, Inc. v. City of Eugene, OR.,
     359 Fed. App’x 692 (9th Cir. 2009) ................................................ 14

Malhota v. Steinberg,
     770 F.3d 853 (9th Cir. 2014) ............................................................. 18

Ping Chen ex rel. U.S. v. EMSL Analytical, Inc.,
     966 F.Supp.2d 282 (S.D.N.Y. 2013) ................................................ 13

Rockwell Int’l Corp. v. U.S.,
    549 U.S. 457 (2007) ........................................................................ 12

St. Clair v. City of Chico,
      880 F.2d 199 (9th Cir. 1989) ............................................................ 14

Thornhill Pub. Co. v. Gen. Tel. & Electronics Corp.,
     594 F.2d 730 (9th Cir. 1979) .......................................................... 14

U.S. ex rel. Absher v. Momence Meadows Nursing Cntr., Inc.,
      764 F.3d 699 (7th Cir. 2014) ............................................................ 13
                                                iii
         Case 2:15-cv-00080-SEH Document 64 Filed 12/23/16 Page 5 of 35




U.S. ex rel. Adv.’s for Basic Legal Equal., Inc. v. US. Bank, N.A.,
      816 F.3d 428 (6th Cir. 2016) ............................................................ 13

U.S. ex rel. Baltazar v. Warden,
      635 F.3d 866 (7th Cir. 2011) ............................................................. 26

U.S. ex rel. Bayarsky v. Brooks,
      154 F.2d 344 (3d Cir. 1946) ............................................................. 16

U.S. ex rel. Foundation Aiding the Elderly v. Horizon West,
      265 F.3d 1011 (9th Cir. 2001) ................................................... passim

U.S. ex rel. Fryberger v. Kiewit Pac. Co.,
      No. 12-cv-02698-JST, 2013 WL 5770514
      (N.D. Cal. Oct. 24, 2013) ................................................................ 14

U.S. ex rel. Hartpence v. Connetic Concepts,
      792 F.3d 1121 (9th Cir. 2015) ..................................................... 15, 27

U.S. ex rel. Kraxberger v. Kan. City Power & Light Co.,
      756 F.3d 1075 (8th Cir. 2014) .......................................................... 13

U.S. ex rel. Marcus v. Hess,
      317 U.S. 537, 63 S.Ct. 379 (1943)................................................... 16

U.S. ex rel. May v. Purdue Pharma, L.P.,
      737 F.3d 908 (4th Cir. 2013) ............................................................ 13

U.S. ex rel. Mateski v. Raytheon,
      816 F.3d 565 (9th Cir. 2016) ..................................................... passim

U.S. ex rel. Moore & Co, P.A. v. Majestic Blue Fisheries, LLC,
      812 F.3d 294 (3d Cir. 2016) ............................................................. 13

U.S. ex rel. Osheroff v. Humana, Inc.,
      776 F.3d 805 (11th Cir. 2015) .......................................................... 13

U.S. ex rel. Savage v. CH2M Hill Plateau Remediation Co.,
                                                iv
         Case 2:15-cv-00080-SEH Document 64 Filed 12/23/16 Page 6 of 35



        No. 4::14-CV-5002-EFS, 2015 WL 5794357, at *6 (E.D. Wa.,
        Oct. 1, 2015) .................................................................................. 13

U.S. ex rel. Schumer v. Hughes Aircraft Co.,
      63 F.3d 1512 (9th Cir. 1995) ............................................................. 19

U.S. ex rel. Springfield Terminal R. Co. v. Quinn,
      14 F.3d 645 (D.C. Cir. 1994) .................................................... passim


RULES:

F.R.Civ.P. Rule 12(b)(1) ............................................................... 12, 14, 15
F.R.Civ.P.Rule 12(b)(6) ................................................................ 12, 13, 14
Local Rule 7.1(d)(2)(D) ............................................................................... 1


UNITED STATES CODE:

31 U.S.C. § 3730(e)(4)(A) .................................................................. passim
31 U.S.C. § 3730(e)(4)(A) (2006) ............................................................. 12
31 U.S.C. § 3730(e)(4)(A) (2010) ............................................................. 12
31 U.S.C. § 3730(e)(4)(B) ............................................................... 2, 26, 27
42 U.S.C. § 1320 a-7b(b)(1),(2) ................................................................ 15
42 U.S.C. § 1320 a-7b(g) .......................................................................... 15


OTHER CITATIONS:

Act of Mar. 2, 1862, ch. 67, 12 Stat. 696 .................................................. 16
33 Cong. Globe 955 (1863) ................................................................ 15, 16




                                                    v
       Case 2:15-cv-00080-SEH Document 64 Filed 12/23/16 Page 7 of 35



                               INTRODUCTION

      Defendants’ motion to dismiss misstates the law regarding public

disclosure.1

      “The public disclosure bar is intended to encourage suits by whistle-

blowers with genuinely valuable information, while discouraging litigation by

plaintiffs who have no significant information of their own to contribute.”

U.S. ex rel. Mateski v. Raytheon, 816 F.3d 565, 579 (9th Cir. 2016). The

purpose of the bar is to prevent relators who discover fraud through publicly

available information from filing parasitic qui tam actions. The public

disclosure bar applies only when enough information exists in the public

domain to expose the fraud, so that the government could presumably bring

its own action under the False Claims Act (“FCA”). U.S. ex rel. Springfield

Terminal R. Co. v. Quinn, 14 F.3d 645, 654 (D.C. Cir. 1994).

      The public disclosure bar does not apply here. It applies only when:

(1) a FCA claim is based upon information disclosed through one of public

sources enumerated by statute; and (2) the relators are not original sources

of the information. 31 U.S.C. § 3730(e)(4)(A).




1
 This is the first of two motions to dismiss filed by Defendants, who filed
serial motions in violation of Local Rule 7.1(d)(2)(D).

                                       1
       Case 2:15-cv-00080-SEH Document 64 Filed 12/23/16 Page 8 of 35



      This case is not based upon publicly disclosed information. The

fraudulent scheme alleged in the Complaint is not substantially similar to

any other litigation or public information. Defendants try to confuse the

matter, however, by ignoring the requirements of the FCA and the Federal

Rules of Civil Procedure. They cite documents that are not public sources

under the FCA and then try to equate a monopoly with the exchange of

referrals for remuneration prohibited by the Anti-Kickback Statute (“AKS”).

Defendants do not even mention the test adopted by the Ninth Circuit for

analyzing when the transactions underlying a FCA claim have been publicly

disclosed, a test which demonstrates the public disclosure bar does not

apply in this case.

      “If and only if there has been a public disclosure,” will a court then

inquire into whether a relator is an “original source” within the meaning of

31 U.S.C. § 3730(e)(4)(B). U.S. ex rel. Foundation Aiding the Elderly v.

Horizon West, 265 F.3d 1011, 1014 (9th Cir. 2001). Relators Frank

Rembert and Michael Paradise (“Relators”) qualify as original sources. The

Complaint is based upon their own direct and independent knowledge and

they voluntarily disclosed the information in their possession to the United

States before filing this action.

      Defendants’ motion to dismiss should be denied.


                                       2
       Case 2:15-cv-00080-SEH Document 64 Filed 12/23/16 Page 9 of 35



                          FACTUAL BACKGROUND

      Comparing the allegations of the Complaint and the substance of the

alleged public disclosures is the cornerstone of any public disclosure

analysis. Thus, Relators will provide a brief background of the relevant

allegations and documents.

I.    THE COMPLAINT ALLEGES VIOLATIONS OF THE FALSE CLAIMS
      ACT AND ANTI-KICKBACK STATUTE.

      A.    BDH refers patients to its own joint venture.

      Defendant Bozeman Deaconess Health Services (“BDH”) is the only

hospital in Bozeman. Doc. 1, ¶ 3. It has long enjoyed a monopoly as the

sole hospital in the area. Id. In 2002, the local group of radiologists (Intercity

Radiology, P.C. (“ICR”)) considered opening a freestanding imaging center

in Bozeman. Id. at ¶ 60. That center would have provided radiologic

imaging services (such as CT and MR scans) on an outpatient basis. Id. at

¶ 61. BDH also offered these outpatient imaging services, and a

freestanding imaging center would have competed directly with BDH. Id.

The freestanding center would have been located off the BDH campus and

would have offered significant cost savings and other advantages to

patients in need of outpatient imaging services. Id. at ¶ 62.

      BDH convinced ICR that, rather than open a freestanding imaging

center away from the hospital, to locate the imaging center on BDH’s
                                        3
      Case 2:15-cv-00080-SEH Document 64 Filed 12/23/16 Page 10 of 35



campus in the same building as BDH’s existing imaging operations. Id. at ¶

68. All of the patients at the imaging center would be referred by BDH. Id. at

¶ 71. In fact, BDH would not only refer patients to AMI, it would schedule

AMI’s patients. Id.

      By promising to refer thousands of patients to the joint venture each

year, BDH guaranteed that AMI would be profitable. See id. at ¶¶ 70, 84.

Unlike a legitimate joint venture, the joint venture proposed by BDH

presented zero risk. Id. at ¶ 70.

      By guaranteeing the joint venture’s profitability, BDH was able to

negotiate a majority ownership interest. Id. at ¶ 78. In addition, ICR and its

radiologists would be bound by a noncompetition clause, preventing them

from participating in any other outpatient imaging center joint venture with

any other group or outside entity for the life of AMI. Id.

      BDH receives a kickback every time it refers a patient to AMI. To

illustrate, if the BDH radiology department is full, a patient in need of a CT

scan is referred to AMI. By scheduling that patient at AMI, BDH prevents

that patient from going elsewhere and receives cash as a result of its

referral because it owns the majority of AMI. The more referrals BDH

makes to AMI, the more cash it receives.




                                        4
      Case 2:15-cv-00080-SEH Document 64 Filed 12/23/16 Page 11 of 35



      B.    BDH knowingly exchanged referrals for remuneration.

            1.    BDH requested that ICR pay cash for referrals.

      BDH did not unwittingly exchange patient referrals for remuneration.

BDH knowingly and willfully used referrals as a bargaining chip during

negotiations regarding formation of the joint venture.

      In January of 2005, after a valuation showed that the joint venture

would be worth millions due to BDH’s referrals, BDH approached ICR and

asked for additional compensation. See id. at ¶¶ 81-87. BDH stated that

because “the patients are the hospital’s” ICR had to pay BDH cash directly.

Id. at ¶ 86. BDH told ICR that refusal to pay for patient referrals was a “deal

breaker.” Id. at ¶ 87.

      BDH and ICR knew that their conduct was illegal. An ICR power point

presentation summarizing negotiations with BDH states that “[o]ur attorney

believes that purchasing the revenue stream is illegal.” Id. at ¶ 90. ICR

communicated that to BDH and suggested that, at the very least, the

parties should request an advisory opinion from the Office of Inspector

General (“OIG”) before moving forward. Id. at ¶ 92.2


2
 The Office of Inspector General of the U.S. Department of Health and
Human Services issues advisory opinions to parties who are concerned
about whether their proposed business arrangements may violate federal
health care laws.

                                       5
      Case 2:15-cv-00080-SEH Document 64 Filed 12/23/16 Page 12 of 35



            2.    BDH and ICR entered into an illegal side agreement
                  regarding referrals.

      ICR was not willing to opening pay BDH directly for referrals. Rather

than restructuring AMI to comply with the law, however, BDH decided to

have ICR pay less cash for fewer referrals. Id. at ¶ 93. CT scans are the

most profitable imaging scan to BDH in terms of gross charges. Id. at ¶ 94.

Instead of referring all outpatient CT scans to the joint venture as initially

negotiated, BDH’s revised plan was to refer fewer CT patients in order to

lower ICR’s contribution to the joint venture. See id. at ¶¶ 95-99.

      BDH and ICR negotiated a side agreement (“Side Agreement”)

regarding the specific volume of CT referrals that BDH would send to the

joint venture. Id. at ¶¶ 95-99, 102-103. A draft side agreement between

BDH and the radiology group, sent to Relator Rembert, states that BDH

would refer between 2,500 to 3,000 CT scans per year for the first three

years (as opposed to the 6,000 CT scans that were initially proposed). Id. at

¶ 95; see also Doc. 1–7. Another draft of the Side Agreement provided that:

            The valuation assumes the number of CT scans
            performed in the OP imaging center for the first 2
            years will be between 2500-3000. This number
            assumes that there is no increase in scanning. If the
            hospital CT scan is full, the number of CT exams may
            well exceed the number projected to move to the OP
            center. The intent is to ensure that all OP volume
            i[s] not shifted from the hospital to the OP center.

                                        6
      Case 2:15-cv-00080-SEH Document 64 Filed 12/23/16 Page 13 of 35



Doc. 1-8 (emphasis added).

      BDH’s statement of intent is significant: the negotiations over volume

had nothing to do with patient care and related only to BDH’s desire to

obtain the maximum amount of compensation for referrals, which is a clear

violation of the AKS.

            3.    BDH and ICR recognized that the Side Agreement was
                  illegal.

      BDH knew the Side Agreement limiting referrals for CT in exchange

for a lower contribution for ICR was illegal. See id. at ¶¶ 100-102. ICR’s

attorney communicated to the attorney for BDH that the proposed

arrangement to limit the schedule in exchange for a lower contribution to

the joint venture proved that BDH was providing referrals in exchange for

remuneration in direct violation of the AKS. Id. at ¶ 100.

      The Side Agreement linked ICR’s contribution to the joint venture with

the number of CT referrals from BDH. Id. at ¶ 104. The final draft of the

Side Agreement states:

            The valuation assumes the number of CT scans
            performed in the OP imaging Center will average 1.4
            scans per patient for 12 patients a day. This number
            assumes that there is no increase in the volume of CT
            scans.

Doc. 1-3. BDH and ICR knew that tying ICR’s contributions to the volume of

referrals and the resulting revenue stream was directly contrary to the AKS.
                                       7
      Case 2:15-cv-00080-SEH Document 64 Filed 12/23/16 Page 14 of 35



Id. at ¶ 106. They also decided to conceal their arrangement and chose not

to request an advisory opinion from the OIG and excluded any reference to

the Side Agreement from the final Operating Agreement for AMI. Id. at ¶

109; see Doc. 1-11.

            4.    BDH referred the negotiated amount of patients to
                  AMI in accordance with the Side Agreement.

      BDH used its control of scheduling at AMI3 to follow through with the

limitation on volume. Id. at ¶¶ 100, 105-106. AMI did not receive all the CT

outpatient scans (over 6000 per year) as initially planned. Id. at ¶¶ 135-144.

Instead, it received the number of CT patients set forth by the Side

Agreement. See e.g. id. at ¶ 143; Doc. 1-23.

      For example, AMI operating committee minutes from June of 2006,

one year after formation of the joint venture, discuss the monthly limit on

volume:




3
  BDH also controls the hours at AMI. See e.g. Doc. 1-8. By preventing AMI
from being open on evenings or weekends, it has another tool for
manipulating the volume of scans at AMI.

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      Case 2:15-cv-00080-SEH Document 64 Filed 12/23/16 Page 15 of 35



Id. at ¶ 136; Doc. 1-17, p. 2. The “Current Letter of agreement” referenced

by those minutes is the Side Agreement.4

II.   THE STATE COURT LITIGATION CONCERNS THE TERMINATION
      OF RELATORS’ EMPLOYMENT IN 2011 AND SUBSEQUENT
      EVENTS.

      In January 2013, Relators filed a lawsuit in state court against BDH.

That lawsuit related to the termination of their employment from ICR in

2011 and their subsequent effort to form a new radiology group to compete

against the hospital. See Complaint and Jury Demand (Doc. 59-C) (“State

Complaint”). The State Complaint alleges that BDH improperly pressured

ICR to terminate Relators’ employment (Doc 59-C, ¶ 34) and then, following

Relators’ terminations, took steps to prevent Relators from competing

against BDH. See id. at ¶¶ 38–45.

      The State Complaint alleges claims for breach of contract, tortious

interference with business relations, and unfair trade practices. See id.

There are only two references to AMI in the State Complaint, in paragraphs

11 and 12.

             ICIG and BDH own a joint venture called Deaconess-
             Intercity Imaging, LLC (“joint venture”), which owns an
             imaging center…ICIG owns 22.5% of the joint venture.
             BDH owns the other 77.5% of the joint venture.

4
 12 patients per day, at 1.4 scans per patient, converts to 370 patients
each month.

                                       9
       Case 2:15-cv-00080-SEH Document 64 Filed 12/23/16 Page 16 of 35




Doc. 59-3, ¶¶ 11.

            Nearly all of the imaging services in Bozeman and the
            surrounding area are provided by two sources. One is
            the joint venture, the majority of which is owned by
            BDH.

Id. at ¶ 12. Essentially, the State Complaint alleges that AMI exists and

BDH is the majority owner. Nothing more.

      The Bozeman Daily Chronicle published an article based upon the

state court lawsuit on February 1, 2013. The article also contains two

references to AMI. It states:

            According to court documents, Rembert and Paradise
            were employees were employees and 22.5
            shareholders in Deaconess-InterCity Imaging—a
            radiology facility and joint venture with the hospital.
            The hospital held the remaining majority shares.
            …
            The only radiology facilities in the Bozeman area are
            the joint venture, of which BDH holds the majority
            share, and the hospital itself, effectively creating “a
            monopoly in the sale of diagnostic imaging services,”
            the lawsuit claims.

Doc. 59-4, p. 2, 3 (“Article”)

      The State Complaint and the Article do not contain the information

alleged by the Complaint in this case. Compare Doc. 1 to Docs. 59-3 & 4.

They do not even mention the term fraud, let alone contain the elements of

the fraud alleged in the Complaint, such as:


                                      10
      Case 2:15-cv-00080-SEH Document 64 Filed 12/23/16 Page 17 of 35



            ●     BDH referred patients to the joint venture in
                  exchange for a majority ownership interest in
                  AMI and a non-compete from the radiology
                  group.

            ●     All of AMI’s patients were referred and
                  scheduled by BDH.

            ●     BDH calculated the monetary value of the
                  patient referrals to be sent to AMI.

            ●     BDH demanded that ICR pay cash for those
                  referrals.

            ●     BDH and ICR discussed that the arrangement
                  violated the AKS.

            ●     BDH and ICR negotiated the specific volume of
                  CT and MR patients that BDH would refer to
                  AMI.

            ●     BDH and ICR intentionally avoided bringing the
                  joint venture to the attention of the OIG.

            ●     The capital contributions to AMI were tied to the
                  volume of referrals.

            ●     BDH followed through with the negotiated
                  limitation on referrals.

Nevertheless, Defendants contend that this lawsuit should be dismissed,

alleging that the substance of this lawsuit was publicly disclosed.




                                      11
      Case 2:15-cv-00080-SEH Document 64 Filed 12/23/16 Page 18 of 35



                                 DISCUSSION

I.    STANDARD OF REVIEW.

      A.    Defendants’ motion is another 12(b)(6) motion.

      Defendants’ motion does not raise a jurisdictional issue and

improperly invokes Rule 12(b)(1). Prior to 2010, the public disclosure bar

provided that “[n]o court shall have jurisdiction over an action…based

upon…public disclosure,” 31 U.S.C. § 3730(e)(4)(A) (2006), prompting the

Supreme Court to treat the bar as jurisdictional. See Rockwell Int’l Corp. v.

U.S., 549 U.S. 457, 460 (2007). When the statute was amended in 2010,

however, Congress specifically removed that language. Rather than say

that a prior public disclosure deprives a court of jurisdiction, the statute now

says that “the court shall dismiss….” 31 U.S.C. § 3730(e)(4)(A) (2010).

      While some courts have occasionally referred to the “jurisdictional”

nature of the rule since the 2010 amendment, the ones that have

specifically examined the meaning of the amendment have concluded that

the public disclosure bar is no longer jurisdictional. As the Sixth Circuit

recently explained:

            In this instance Congress removed the jurisdictional
            language, and the different language leads to a
            different meaning. The public disclosure bar is no
            longer jurisdictional, as every other circuit to
            address the question has concluded.

                                       12
      Case 2:15-cv-00080-SEH Document 64 Filed 12/23/16 Page 19 of 35



U.S. ex rel. Adv.’s for Basic Legal Equal., Inc. v. US. Bank, N.A., 816 F.3d

428, 433 (6th Cir. 2016) (emphasis added) (citing U.S. ex rel. Moore & Co,

P.A. v. Majestic Blue Fisheries, LLC, 812 F.3d 294, 299–300 (3d Cir. 2016);

U.S. ex rel. May v. Purdue Pharma, L.P., 737 F.3d 908, 916–17 (4th Cir.

2013); U.S. ex rel. Osheroff v. Humana, Inc., 776 F.3d 805, 809–811 (11th

Cir. 2015); U.S. ex rel. Absher v. Momence Meadows Nursing Cntr., Inc.,

764 F.3d 699, 705–06 (7th Cir. 2014); U.S. ex rel. Kraxberger v. Kan. City

Power & Light Co., 756 F.3d 1075, 1082 (8th Cir. 2014)); see also Ping

Chen ex rel. U.S. v. EMSL Analytical, Inc., 966 F.Supp.2d 282, 293–94

(S.D.N.Y. 2013) (surveying lower court cases on this issue and concluding

that Congress “deliberately removed” the statutory language such that the

public disclosure bar does not compel a jurisdictional analysis but merely

“provides a basis for dismissal.”).

      While the Ninth Circuit has not yet addressed this issue, BDH

correctly acknowledges—in a footnote on the last page of its brief—that

other district courts in this Circuit agree that the public disclosure bar is

properly evaluated under Rule 12(b)(6) in post-2010 FCA cases. See, e.g.,

U.S. ex rel. Savage v. CH2M Hill Plateau Remediation Co., No. 4::14-CV-

5002-EFS, 2015 WL 5794357, at *6 (E.D. Wa., Oct. 1, 2015) (unreported)

(treating the public disclosure bar as non-jurisdictional because “the 2010


                                        13
      Case 2:15-cv-00080-SEH Document 64 Filed 12/23/16 Page 20 of 35



version was in effect [when] the Complaint was filed.”); U.S. ex rel.

Fryberger v. Kiewit Pac. Co., No. 12-cv-02698-JST, 2013 WL 5770514, at

*5 (N.D. Cal. Oct. 24, 2013) (unreported) (rules should be assumed to be

non-jurisdictional absent a “clear statement” to the contrary, and finding

there was such a statement “but Congress deleted it.”).

      B.    Under any rule, Defendants’ motion should be denied.

      Defendants’ characterization of their motion as a 12(b)(1) is not

proper. Among other things, it provides a superficial excuse to file serial

motions, rather than raising all their arguments in a single 12(b)(6) motion.

It unfairly inverts the burden of proof, see Davis v. Wells Fargo, 824 F.3d

333, 348–49 (3d Cir. 2016), and permits the consideration of extraneous

evidence. St. Clair v. City of Chico, 880 F.2d 199, 201 (9th Cir. 1989).

Finally, it invites the Court to decide this case without assuming the

truthfulness of the allegations of the complaint, MCI Comm.’s Serv.’s, Inc. v.

City of Eugene, Or., 359 Fed. App’x 692, 697 (9th Cir. 2009), and without

even the more limited evidentiary safeguards Rule 56 affords. Thornhill

Pub. Co. v. Gen. Tel. & Electronics Corp., 594 F.2d 730, 733 (9th Cir.

1979). In effect, BDH seeks a premature determination on the merits

without allowing any opportunity for discovery.




                                      14
       Case 2:15-cv-00080-SEH Document 64 Filed 12/23/16 Page 21 of 35



      In any event, Defendants’ motion should be denied even under Rule

12(b)(1). The materials attached to Defendants’ brief do not establish that the

public disclosure bar applies.

II.   THE PURPOSE OF THE PUBLIC DISCLOSURE BAR.

      The AKS prohibits knowingly soliciting or receiving anything of value

in exchange for or to induce referrals for services paid for by a government

healthcare program. A person violates the AKS when they 1) knowingly and

willfully, 2) solicit or receive, or offer or pay, remuneration, 3) in return for or

to induce another to refer a patient for services that will be paid for with

federal funds. 42 U.S.C. § 1320 a-7b(b)(1), (2). A violation of the AKS

constitutes a violation of the FCA. 42 U.S.C. § 1320 a-7b(g).

      A suit under the FCA is brought on behalf of the United States

Government, which receives the majority of any amount recovered. “The

FCA authorizes whistle-blowing private citizens to file suit after discovering

that the federal government has been defrauded.” U. S. ex rel. Hartpence v.

Connetic Concepts, 792 F.3d 1121, 1123–1124 (9th Cir. 2015). As

explained by Senator Jacob Howard, a leading sponsor of the FCA, it is

premised upon the “old-fashion idea of holding out a temptation, and

‘setting a rogue to catch a rogue.’” 33 Cong. Globe 955–56 (1863) (remarks




                                         15
      Case 2:15-cv-00080-SEH Document 64 Filed 12/23/16 Page 22 of 35



of Sen. Howard). 5 Thus, an FCA suit may be “brought and carried on by

any person, as well for himself as for the United States.” Am. Civil Lib.

Union v. Holder, 673 F.3d 245, 259 (4th Cir. 2011) (emphasis original)

(citing Act of Mar. 2, 1862, ch. 67, 12 Stat. 696, 698). “The intent of

Congress could scarcely be stated more clearly.” U.S. ex rel. Bayarsky v.

Brooks, 154 F.2d 344, 346 (3d Cir. 1946).

      As originally enacted, the FCA allowed a relator to bring a “qui tam

action even if he discovered the fraud merely by reading information

already in the public domain.” Id., 792 F.3d at 1124. However, following a

notorious case where a relator discovered fraud by reading a federal

criminal indictment, Congress amended the FCA to preclude any actions

that were based on evidence or information already in the possession of the

United States. See Graham County Soil and Water Conservation Dist. v.

U.S. ex rel. Wilson, 559 U.S. 280, 294 (2010) (citing U.S. ex rel. Marcus v.

Hess, 317 U.S. 537, 63 S.Ct. 379 (1943)).

      Congress eventually amended the public disclosure provision of the

FCA “in an effort to strike a balance between encouraging private citizens

to root out fraud and stifling parasitic lawsuits such as the one in Hess.”

5
  Relators are not the villains BDH’s motion attempts to make them out to
be, and that is not a relevant inquiry on a motion to dismiss. But, even if
they were, that is not inconsistent with the purpose of the False Claims Act.

                                       16
       Case 2:15-cv-00080-SEH Document 64 Filed 12/23/16 Page 23 of 35



Graham County, 559 U.S. at 295. It seeks “the golden mean between

adequate incentives for whistle-blowing insiders with genuinely valuable

information and discouragement of opportunistic plaintiffs who have no

significant information to contribute of their own.” Springfield Terminal, 14

F.3d at 649; see also Mateski, 816 F.3d at 579. The public disclosure bar

“must be analyzed in the context of these twin goals of rejecting suits which

the government is capable of pursuing itself, while promoting those which

the government is not equipped to bring on its own.” Springfield Terminal,

14 F.3d at 651.

III.   THE ELEMENTS OF THE PUBLIC DISCLOSURE BAR.

       The present text of the public disclosure bar states that the

government shall dismiss an FCA suit:

             If substantially the same allegations or transactions as
             alleged in the action were publicly disclosed (i) in a
             federal criminal, civil, or administrative hearing in
             which the government or its agent is a party; (ii) in a
             congressional, Government Accountability Office, or
             other Federal report, hearing, audit, or investigation;
             or (iii) from the news media, unless the action is
             brought by the Attorney General or the person
             bringing the action is an original source of the
             information.

31 U.S.C. § 3730(e)(4)(A).6

6
 Under either the pre-2010 or post-2010 version of the FCA, the public
disclosure bar is wholly inapplicable to this case.

                                       17
       Case 2:15-cv-00080-SEH Document 64 Filed 12/23/16 Page 24 of 35



      “The public disclosure bar is triggered if three things are true: (1) the

disclosure at issue occurred through on of the channels specified in the

statute; (2) the disclosure was public; and (3) the relator’s action is ‘based

upon’ the allegations or transactions publicly disclosed.” Mateski, 816 F.3d

at 570 (citing Malhota v. Steinberg, 770 F.3d 853, 858 (9th Cir. 2014).

      A.    Only documents in the categories specified by 31 U.S.C. §
            3730(e)(4)(A) can be considered in a public disclosure
            analysis.

      The first two elements of the public disclosure bar deserve attention,

because Defendants improperly rely on documents which are not public

and are not relevant to the issues presented by their motion, such as

depositions, discovery responses, expert disclosures, and a settlement

agreement. See generally, Defendants’ Brief.

      The public disclosure bar only applies when information is contained

within certain public fora specified by statute.7 31 U.S.C. § 3730(e)(4)(A).

“Public disclosure can occur in one of only three categories of public fora:

(1) in a ‘criminal, civil, or administrative hearing;’ (2) in a ‘congressional,

administrative, or Government Accounting Office report, hearing, audit, or

investigation;’ or (3) in the news media.” U.S. ex rel. Foundation Aiding, 265

7
 Even if those materials were relevant to the public disclosure analysis, the
bar is still wholly inapplicable.


                                        18
       Case 2:15-cv-00080-SEH Document 64 Filed 12/23/16 Page 25 of 35



F.3d at 1014; see also Mateski, 816 F.3d at 570 (public disclosure bar

triggered only if “the disclosure occurred through one of the channels

specified in the statute”).

      Under either the pre-2010 or post-2010 version of the FCA, discovery

materials cannot be considered in a public disclosure analysis. Under the

current version, even state court lawsuits do not qualify as public

disclosures, much less any discovery materials from those lawsuits. See 31

U.S.C. § 3730(e)(4)(A). Only lawsuits filed in federal court, where the

government or its agent is a party qualify as a public disclosure.8

      Under the pre-2010 version, the Ninth Circuit (and others) have

unequivocally held that deposition transcripts and discovery materials relied

upon by BDH cannot even be considered in a public disclosure analysis.

Only discovery material that is “actually made public through filing” is

disclosed, not discovery material exchanged between parties, which “is only

theoretically available upon the public’s request.” Springfield Terminal, 14

F.3d at 652 (emphasis in original); see U.S. ex rel. Schumer v. Hughes

Aircraft Co., 63 F.3d 1512, 1520 (9th Cir. 1995) (“We conclude that the


8
 The alleged public disclosures in this case occurred in 2013. See Doc. 59-
3 &4. The state complaint does not even count as a public disclosure for
conduct that occurred after 2010.


                                      19
       Case 2:15-cv-00080-SEH Document 64 Filed 12/23/16 Page 26 of 35



District of Columbia Circuit’s distinction between actual and theoretical

availability is persuasive”) (emphasis in original) (overruled on other

grounds).

       The purpose of the bar is to prevent a relator from filing a qui tam

based on public information that is known to the government. See

Springfield Terminal, 14 F.3d at 654 (holding that the bar applies “only

when enough information exists in the public domain to expose the

fraudulent transaction”). Discovery materials exchanged between parties in

litigation are not public. Otherwise, the public disclosure bar could be used

to “prevent the utilization for enforcement purposes of allegations or

transactions that may not otherwise come to the attention of the authorities”

just like Defendants are trying to do here. Springfield Terminal, 14 F.3d at

651.

       B.    The “allegations and transactions” were not publicly
             disclosed.

             1.    The well-established formula shows that the public
                   disclosure bar does not apply.

       Defendants’ brief does not mention the test to determine whether a

lawsuit is based upon “allegations or transactions” that have been publicly

disclosed.

             On the basis of plain meaning, and at the risk of the
             labored illustration, if X + Y = Z, Z represents the
                                       20
      Case 2:15-cv-00080-SEH Document 64 Filed 12/23/16 Page 27 of 35



             allegation of fraud and X and Y represents its
             essential elements. In order to disclose a fraudulent
             transaction publicly, the combination of X and Y must
             be revealed, from which readers or listeners may infer
             Z, i.e., the conclusion that fraud has been committed.

Springfield Terminal, 14 F.3d at 654; see also U.S. ex rel. Foundation

Aiding the Elderly v. Horizon West, 265 F.3d 1011, 1015 (9th Cir. 2001)

(adopting the test set forth by the District of Columbia in the Springfield

Terminal).

      Applied here, Z would be the allegation that BDH and AMI committed

Medicare and Medicaid fraud by bartering remuneration for referrals in

violation of the AKS and the FCA. Neither the State Complaint nor the

Article mention the term “fraud,” let alone allege Medicare and Medicaid

fraud in violation of the Anti-Kickback statute. See Foundation Aiding, 265

F.3d at 1016 (holding that even general allegation of fraud in prior lawsuit

did not trigger the public disclosure bar and therefore “we conclude that this

action is not barred by the previous disclosure of the fraud at issue.”).

Indeed, nowhere in either of these documents are the words “fraud,”

“remuneration,” “kickback,” “AKS,” or “false claim”—the words that

comprise the fundamental allegations in this lawsuit. Clearly, the allegation

that BDH violated the FCA was not publicly disclosed.




                                       21
      Case 2:15-cv-00080-SEH Document 64 Filed 12/23/16 Page 28 of 35



      Because the allegation of fraud was not publicly disclosed, there was

no public disclosure, unless Defendants can show that the fraudulent

transactions that comprise the fraud were in the public domain. To

determine whether the transaction was publicly disclosed, it is necessary to

analyze whether the critical elements of the fraudulent transaction (i.e. X +

Y), themselves were made public. “Congress sought to prohibit qui tam

actions only when either the allegation of fraud or the critical elements of

the fraudulent transaction themselves were in the public domain.”

Springfield Terminal, 14 F.3d at 654 (emphasis in original). In other words,

the elements of fraud must be disclosed so that a person reading the

publicly disclosed information could infer that the FCA had been violated.

      The critical elements of the fraud in this case relate to BDH knowingly

exchanging referrals for remuneration. Among other things, BDH used

referrals as a bargaining chip when negotiating the formation of the joint

venture. It requested that ICR pay cash for referrals. It then negotiated a

specific amount of patients that it would refer to AMI. BDH knew that its

course of conduct was illegal, but decided to proceed anyway. It entered

into a Side Agreement which memorialized the negotiated volume of

referrals and specifically decided against seeking an advisory opinion from

the OIG.


                                      22
       Case 2:15-cv-00080-SEH Document 64 Filed 12/23/16 Page 29 of 35



      The public disclosure bar clearly does not apply here. The critical

elements of Defendants’ kickback scheme are conspicuously missing from

any information that was publicly disclosed before Relators filed this action.

See Foundation Aiding, 265 F.3d at 1015. Allowing a public document

which states that a joint venture exists to bar all FCA suits which identify

specific instances of fraud arising from that joint venture would effectively

repeal the False Claims Act. See Springfield Terminal, 14 F.3d at 654 (“To

permit the bar to be invoked when the United States possesses only rumors

while the qui tam plaintiff has evidence and information would be to permit

the bar to repeal effectively most of the False Claims Act.”).

            2.     A monopoly is different from trading referrals for
                   remuneration.

      Put another way, the fact that BDH has a monopoly in Bozeman did

nothing to alert the government to the fact that BDH used referrals as a

bargaining chip to obtain remuneration in violation of the AKS. The

allegations in this case are not “substantially similar” to the prior litigation.

      At the outset, Defendants’ allegation that “Relators disclosed that

Bozeman Health’s formation of AMI was improper in the January 2013

complaint in the Bozeman Health Litigation” is false. See Defendants’ Brief,

pp. 15-16. The State Complaint does not discuss the formation of AMI at

all, it only mentions that AMI exists.
                                         23
      Case 2:15-cv-00080-SEH Document 64 Filed 12/23/16 Page 30 of 35



      But even if the State Complaint or Article did state that BDH

improperly formed AMI in order to maintain a monopoly, the public

disclosure bar would still not apply. A monopoly is entirely different from a

kickback scheme. The fact that a monopoly existed does not allow the

government to infer that BDH engaged in fraudulent conduct in violation of

the FCA in order to maintain that monopoly. If it did, a defendant who had

previously been accused of having a monopoly would be immune from any

claims under the FCA. “Allowing a public document describing ‘problems’—

or even some generalized fraud in a massive project or across a swath of

an industry—to bar all FCA suits identifying specific instances of fraud in

that project or industry would deprive the government of information that

could lead to recovery of misspent government funds and prevention of

further fraud.” Mateski, 816 F.3d at 577.

      The Ninth Circuit has rejected attempts to lower the public disclosure

bar based on general similarities with a prior disclosure, or mere

overlapping subject matter. Even if the alleged prior disclosure “looks

similar…at first blush[,]” Mateski, 816 F.3d at 576 (quoting Leveski v. ITT

Educational Services, Inc., 719 F.3d 818, 832 (7th Cir. 2013)), the court

must look deeper. Courts cannot assess similarity “at the highest level of

generality” and, in doing so, “wipe out qui tam suits that rest on genuinely


                                      24
      Case 2:15-cv-00080-SEH Document 64 Filed 12/23/16 Page 31 of 35



new and material information….” Mateski, 816 F.3d at 577 (quoting

Leveski, 719 F.2d at 831 (internal citations omitted)). That approach “is not

sound.” Id. Rather than permit defendants to broad-brush the issues and

sweep in legitimate claims, the public disclosure bar requires a showing of

substantial similarity between the alleged prior disclosure and the specific

facts material to the FCA claim. This approach better effectuates the

purpose of the rule and strikes a balance between “encouraging private

persons to root out fraud and stifling parasitic lawsuits” Mateski, 816 F.3d at

577 (quoting Graham County, 559 U.S. at 295).

      Moreover, even when prior lawsuits do contain allegations of fraud,

and even when those prior lawsuits allege claims under the FCA, the public

disclosure bar still does not prevent a lawsuit from moving forward that is

based on new and material information.

      In Leveski, the relator filed a qui tam suit after a separate qui tam

action had already been filed against the same defendant. Leveski, 719

F.2d at 831. The two suits alleged similar fraudulent schemes. “To be sure,

Leveski’s case looks similar to the Graves case at first blush. The relators

in both cases are former employees of ITT—and even held the same job

title. The relators in both cases also allege that ITT violated the incentive

compensation provision of the HEA.” Id. at 832 (emphasis in original).


                                       25
      Case 2:15-cv-00080-SEH Document 64 Filed 12/23/16 Page 32 of 35



However, Leveski’s complaint was based upon facts and information that

had not previously been publicly disclosed. Therefore, “Leveski’s case does

rest on genuinely new and material information, and as a result, Leveski’s

allegations are not ‘substantially similar to publicly disclosed allegations.’”

Id. at 835; see also U.S. ex rel. Baltazar v. Warden, 635 F.3d 866, 869 (7th

Cir. 2011) (public disclosure bar did not apply where relator “supplied vital

facts that were not in the public domain”).

IV.   RELATORS ARE ORIGINAL SOURCES.

      “If and only if there has been a public disclosure,” will the court then

inquire into whether a relator is an “original source” within the meaning of

31 U.S.C. § 3730(e)(4)(B). Foundation Aiding, 265 F.3d at 1014. An original

source is not barred from bringing a lawsuit that has been publicly

disclosed. 31 U.S.C. § 3730(e)(4)(A) (“The court shall dismiss an action or

claim under this section…unless the action is brought by the Attorney

General or the person bringing the action is an original source of the

information.”).

      Where an FCA claim has been publicly disclosed before a relator filed

his complaint, the relator may still bring a claim under the FCA if he can

show that “(1) he has direct and independent knowledge of the information

on which the allegations in his court-filed complaint are based and (2) he


                                       26
      Case 2:15-cv-00080-SEH Document 64 Filed 12/23/16 Page 33 of 35



has voluntarily provided the information to the Government before filing his

civil action.” U.S. ex rel Hartpence v. Kinetic Concepts, 792 F.3d 1121,

1123-1124 (9th Cir. 2015); see 31 U.S.C. § 3730(e)(4)(B).9

      Relators easily qualify as original sources. The allegations in the

Complaint are based solely on their direct and independent knowledge. The

Side Agreement and the drafts were sent to Relator Rembert, as well as

emails and other documents which reveal the fraudulent scheme. Relators

Rembert and Paradise were present at meetings which discussed the

volume of referrals made by BDH to AMI. Obviously, Relators have direct

and independent knowledge of the fraudulent scheme. Springfield

Terminal, 14 F.3d at 656 (“We think it clear that, in light of the aims of the

statute, that ‘direct and independent knowledge of information on which the

allegations are based’ refers to direct and independent knowledge of any

essential element of the underlying fraud transaction.”).

      Moreover, Relators voluntarily disclosed the information to the

government before filing the Complaint. See Hartpence, 792 F.3d at 1123-

1124; 31 U.S.C. § 3730(e)(4)(B). Relators provided a draft of the Complaint

and of the written disclosure statement to the government, voluntarily, prior


9
 Relators qualify as original sources under both the pre-2010 and post-
2010 versions of the FCA.

                                       27
      Case 2:15-cv-00080-SEH Document 64 Filed 12/23/16 Page 34 of 35



to filing the Complaint (and in addition to the Complaint and disclosure

statement that were formally served on the government). Second

Declaration of Frank Rembert, ¶ 9-10 (December 23, 2016).

                               CONCLUSION

     For the foregoing reasons, BDH’s motion to dismiss should be

denied.

     DATED this 23rd day of December, 2016.



                                   /s/ Ben Alke
                                   J. Devlan Geddes
                                   Benjamin J. Alke

                                   GOETZ, BALDWIN & GEDDES, P.C.
                                   Attorneys for Relators




                                     28
      Case 2:15-cv-00080-SEH Document 64 Filed 12/23/16 Page 35 of 35



                      CERTIFICATE OF COMPLIANCE

      Pursuant to Rule 7.1(d)(2) of the Local Rules of Procedure of the United

States District Court for the District of Montana, the undersigned certifies that

the word count calculated by Microsoft Word is less than 6,500 words (5,848)

including footnotes and excluding the caption, Certificate of Compliance, and

Certificate of Service.

      DATED this 23rd day of December, 2016.

                                     /s/ Ben Alke
                                     J. Devlan Geddes
                                     Benjamin J. Alke

                                     GOETZ, BALDWIN & GEDDES, P.C.
                                     Attorneys for Relators




                                       29
